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Information to identify the case:
Debtor 1              Anthony William Rich Jr.                                     Social Security number or ITIN   xxx−xx−0605
                      First Name   Middle Name   Last Name                         EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court District of Connecticut

Case number: 18−31137 amn



Order of Discharge                                                                                                          12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Anthony William Rich Jr.

                                                                            By the court: Ann M. Nevins
           3/25/19                                                                        United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                              This order does not prevent debtors from paying
and it does not determine how much money, if                                any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                        debts according to the reaffirmation agreement.
                                                                            11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                   Most debts are discharged
attempt to collect a discharged debt from the                               Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                  all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                             personal liability for debts owed before the
or otherwise try to collect from the debtors                                debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                            Also, if this case began under a different chapter
in any attempt to collect the debt personally.                              of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                            to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                                 are discharged.

However, a creditor with a lien may enforce a                               In a case involving community property: Special
claim against the debtors' property subject to that                         rules protect certain community property owned
lien unless the lien was avoided or eliminated.                             by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                               not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2 >




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Some debts are not discharged                                  Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:                 agreement are not discharged.

      ♦ debts that are domestic support                        In addition, this discharge does not stop
        obligations;                                           creditors from collecting from anyone else who is
                                                               also liable on the debt, such as an insurance
                                                               company or a person who cosigned or
      ♦ debts for most student loans;                          guaranteed a loan.


      ♦ debts for most taxes;
                                                                This information is only a general summary
      ♦ debts that the bankruptcy court has                     of the bankruptcy discharge; some
        decided or will decide are not discharged               exceptions exist. Because the law is
        in this bankruptcy case;                                complicated, you should consult an
                                                                attorney to determine the exact effect of the
                                                                discharge in this case.
      ♦ debts for most fines, penalties,
        forfeitures, or criminal restitution
        obligations;


      ♦ some debts which the debtors did not
        properly list;


      ♦ debts for certain types of loans owed to
        pension, profit sharing, stock bonus, or
        retirement plans; and


      ♦ debts for death or personal injury caused
        by operating a vehicle while intoxicated.




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